
JOHNSON, J.,
denying the stay,
denying the writ application and assigning reasons.
| defendant’s present attorneys were appointed to represent him on June 16, 2006. They continued to assist as stand-by counsel after Defendant asserted his Sixth Amendment right to represent himself, and throughout the guilt phase of this trial.
Since jury sequestration is mandated by LSA-C. Cr. P. art.791(B), this jury should be allowed to proceed with the penalty phase of this trial without interruption.1

. LSA-C.Cr.P. art.791(B) provides:
B. In capital cases, after each juror is sworn he shall be sequestered, unless the state and the defense have jointly moved that the jury not be sequestered

